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Case 2:17-cV-00098-.]CH-GBW Document 1-2 Filed 01/18/17 Page 1 d$'§ER'CT COURT CLERK
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STEPHEN T. PACHECO
Jonge Montes

STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT
BRENT SHELLEY,

Plaintiff,

VS‘ NO_ D-101-CV-2016-02713

 

Case assigned to Sing|eton, Sarah
TRANSAMERICA LIFE INSURANCE COMPANY,

a foreign corporation and STACY S]]_VESTRI,
Defendants.

VERIFIED COMPLAINT FOR DAMAGES FOR BREACH OF CONTRACT,
INSURANCE BAD FAITH, UNFAIR TRADE PRACTICES, VIOLAT]ON OF THE INSURANCE
CODE, NEGLIGENCE, BREACH OF FIDICUARY DUTIES AND DECLARATORY RELIEF

COMES NOW, Plaintiff_. Brent Shelley_. by his undersigned attomeys, Royce E. Hosl<ins and
R. Trey Arvizu, and for his Complaint against the Defendants, Transamerica Life Insurance
Company and Stacy Silvestri_. states and alleges:

GENERAL ALLEGATIONS

1. Plaintiff, Brent Shelley at all times material to the allegations of the Complaint was
a resident of Las Cruces, New Mexico.

2. Plaintiff is informed and believes that Defendant Transamerica Life Insurance
Company, (`hereinafter ‘“Transamerica Life”`) is an insurance company authorized to do business
in the State of New Mexico. Defendant Transamerica Life may be served with process by serving
the Superintendent of Insurance for the Department of Insurance for the State of New Mexico at
P.O. Drawer 1269_. Santa Fe_. New Mexico 87504_. by certified mail, retum receipt requested

3. Upon information and belief, Defendant, Stacy Silvestri (hereinafter “Silvestri”`), is

or was an Kentucky resident at all times material to the allegations set forth herein_. and was at all

EXHIBIT A

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times alleged herein employed by Transamerica Life as its Claims Representative_. is the adjuster
on Plaintiff’s claim subject to this case.

4. Silvestri is a “person” or “individual” as defined in the New Mexico lnsurance Code.
See NMSA 19?8, Section 59A-1-10(A) and (B) (“’ Person’ includes an individual. . . . An ‘individual’
is a natural person, a human being”`). As a person or individual, Silvestri is subject to the provisions
of NMSA 19?'8_. Section 59A-l6-20.

5. Silvestri personally committed acts which she knew or should have known to be in
violation of the Unfair Claims Practices Act or to be negligent andfor grossly negligent andfor in bad
faith and intentional and this resulted in the deprivation of Plaintiff’s rights and benefits under the
policy as alleged herein.

6. Plaintiff is informed and believes that Defendant, Transamerica Life, is liable for the
acts of co-Defendant Silvestri because in dealing with Plaintiff’ s claims, she was acting in the course
and scope of her employment with Transamerica Life. Moreover, Plaintiff is further informed and
believes that Transamerica Life participated, authorized and ratified Silvestri’s actions toward
Plaintiff.

T . The claims for relief found within this Complaint arise under New Mexico statutory
laws and common law, namely, the New Mexico Unfair Trade Practices Act, NMSA §57-12-1 er.
seq._. the lnsurance Code, NMSA §59A-16-20, common law concepts of breach of contract,
misrepresentation, violations of the covenants of good faith and fair dealing, bad faith, negligence

and other elements of New Mexico common law.

8. The Court has jurisdiction over the parties and over the subject matter of this
complaint.
9. Venue is proper in this Court.

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FACTUAL ALLEGATIONS SPECIFIC TO THESE CLAIMS

10. Plaintiff incorporates herein by this reference the allegations contained in paragraphs
1 through 9 as though set forth in full herein.

1 l. On or about December 21, 2015_. Plaintiff’s wife Estella Shelley died in Las Cruces,
New Mexico. At the time of her death Estella Shelley was married to Brent Shelley.

12. At the time of her death Transamerica Life had issued an Life lnsurance Policy 039]-
9NNT. The policy provides the amounts to be paid based on the death of Estella Shelley of
$200,000.00. Brent Shelley is the sole beneficiary under the policy. Following the death of Estella
Shelley Brent Shelley requested that Transamerica Life tender the policy proceeds.

13. Plaintiff thereafter made a claim to Transamerica Life and Co-Defendant Silvestri
was the assigned claims adjuster on said claim.

14. Defendant Silvestri notified Plaintiff per correspondence dated August 25_. 2016 that
death benefits would not be paid based upon an exclusion pursuant to Part IV , section 4 of the
Certificate of Coverage.

15. An autopsy was performed on Estella Shelley by the Office of the Medical Investigator
( “OMI”) per case number2015-065 19. The finding of the OMI were that the manner of death was
“Accident”.

16. Plaintiff is entitled to recover death benefits from Defendant Transamerica Life
under the policy of insurance issued to Plaintiff. Plaintiff has an expectation of coverage for life
insurance benefits at the limits of $200,000.00 because he has been making all premium payments
on in a timely manner.

1?. Defendants have further failed and breached their duty as an insurance company and

as insurance agents by failing to act in good faith in the performance of the contract in that they have

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failed to give equal consideration to the interests of its policy holder.

18. There is implied in every insurance policy andfor contract a duty on the part of
Defendants to deal fairly with the policy holders, in this instance, Plaintiff. Defendants have
breached this duty to Plaintiff. As a proximate result of this breach_. Plaintiff has been damaged in
an amount of at least $200,000.00 or in other amounts as may be proven at trial. Plaintiff has lost
use of his money as well, and therefore also is entitled to pre-judgment interest on any judgment or
award.

COUNT I - BREACH OF CONTRACT

19. Plaintiff incorporates herein by this reference the allegations contained in all
preceding paragraphs as though fully set forth in full herein.
20. Plaintiff Brent Shelley was the legal beneficiary of the $200_.000.00 insurance
proceeds issued under a life insurance by Transamerica Life.
21. The $200,000.00 death benefits proceeds pursuant to the policy of life insurance
issued by Transamerica Life were triggered by the death of Estella Shelley which
occurred on December 21, 2015.
22. Defendants have failed and refused to pay the $200,000.00 life insurance proceeds
pursuant to the policy.
23. Defendants have breached their contractual obligation to pay the damages incurred
by its insured, Plaintiff.
24. Plaintiff is entitled to recover his attorneys fee and costs in pursuing this action
pursuant to §39-2-1 NMSA 19?'8 (1953).

WHEREFORE, Plaintiff prays for judgment against Defendants for his damages in a sum

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to be determined at trial of this cause, for pre-judgment and post-judgment interest, attorneys’ fees,

costs of suit_. and for such other and further relief as the Court deems just and proper.

COUNT II - INSURANCE BAD FAITH

25. Plaintiff incorporates herein by this reference the allegations contained in all
preceding paragraphs as though fully set forth in full herein.

26. Plaintiff is an insured under the policy of insurance issued to him by Transamerica
Life.

27. Plaintiff has performed all duties and obligations required of him in a timely manner
as required under the terms of his policy issued by Transamerica Life, including paying premiums.

31. Plaintiff sustained a compensable loss under the terms of the policy due to the death
of Estella Shelley.

32. Defendants have a duty to act in good faith and to deal fairly with Plaintiff.

33. Defendants willfully_. recklessly, and without regard for the rights of Plaintiff_.
breached the duty of good faith and fair dealing owed to Plaintiff by knowingly committing the
following acts:

(`a`) Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
coverages at issue_;

(`b) Failin g to acknowledge and act reasonably promptly upon communications
with respect to claims from insureds arising under policies_;

(` c`) Failing to adopt and implement reasonable standards for the prompt
investigation and processing of insureds’ claims arising under policies;

(`d) Not attempting in good faith to effectuate prompt, fair and equitable

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settlements of an insureds’ claims in which liability has become reasonably clear;

(e) Compellin g Plaintiff to institute this litigation to recover amounts due under
his policy by offering substantially less than the amounts ultimately recovered in actions brought
by such insureds when such insureds have made claims for amounts reasonably similar to amounts
ultimately recovered;

(f) Failing to promptly provide Plaintiff a reasonable explanation of the basis
relied on in the policy in relation to the facts or applicable law for denial of a claim or for the offer
of a compromise settlement.

34. As a direct and proximate result of the death of Estella Shelley, Plaintiff has sustained
damages, including but not limited to, the policy proceeds of $200,000.00 which Defendant
Transamerica Life has failed to tender.

35. Plaintiff is entitled to recover his attorneys fees and costs in pursuing this action
pursuant to §39-2-1 NMSA 1978 (`1953`).

WHEREFORE, Plaintiff prays for judgment against Defendants for damages in a sum to be
determined at trial of this cause, for pre-judgment and post-judgment interest, attorneys fees, costs
of suit_. and for such other and further relief as the court deems just and proper.

COUNT III - VIOLATION OF UNFAIR INSURANCE PRACTICES ACT
(Against All Defendants)

36. Plaintiff incorporates herein by this reference the allegations contained in all
preceding paragraphs as though fully set forth in full herein.

37. At all times material, there was in the State of New Mexico a statute NMSA 1984,
§59A-16-20, (199?) (hereinafter the “Unfair Insurance Practices Act”) defining and prohibiting

certain unfair and deceptive insurance practices.

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38. The actions of the Defendants, its agents and employees as set forth above constitute
unfair insurance trade practices prohibited by NMSA 1984_. §59A-16-1 through §59A-16-30.

39. Defendants have breached the Unfair lnsurance Practices Act by knowingly
committing the following acts:

(`a`) Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
coverages at issue;

(`b) Failing to acknowledge and act reasonably promptly upon communications
with respect to claims from insureds arising under policies_;

(`c`) Failing to adopt and implement reasonable standards for the prompt
investigation and processing of insureds’ claims arising under policies;

(`d) Not attempting in good faith to effectuate prompt, fair and equitable
settlements of an insured’s claims in which liability has become reasonably clear;

(`e`) C ompellin g Plaintiff to institute this litigation to recover amounts due under
her policy by offering substantially less than the amounts ultimately recovered in actions brought
by such insureds when such insureds have made claims for amounts reasonably similar to amounts
ultimately recovered; and

(`f) Failing to promptly provide Plaintiff a reasonable explanation of the basis
relied on in the policy in relation to the facts or applicable law for denial of a claim or for the offer
of a compromise settlement

40. As a direct and proximate result of Defendants’ breach of the Unfair Insurance
Practices Act, Plaintiff has sustained damages, including but not limited to, past and future medical
billings, past and future pain and suffering, loss of enjoyment of life_. and permanent injuries.

41. Plaintiff is entitled to recover his attorneys fees and costs in pursuing this action

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pursuant to NMSA 1978, §39-2-1 (`1953`).

WHEREFORE_. Plaintiff prays for judgment against Defendants for his damages in a sum
to be determined at trial of this cause, for pre-judgment and post-judgment interest, attorneys fees,
costs of suit and such other and further relief as this Court deems just and proper.

COUNT IV - NEGLIGENCE AND BREACH OF FIDUCIARY DUTY
(Against Defendants Transamerica Life and Silvestri)

42. Plaintiff incorporates herein by this reference the allegations contained in all
preceding paragraphs as though fully set forth in full herein.

43. Defendant Silvestri owed a fiduciary duty to Plaintiff by statute and by common law
to ensure that Plaintiff be covered by the insurance she requested_. expected and paid for.

44. The acts of Defendant Silvestri were done in the course and scope of her duties to
Defendant Transamerica Life and, as a result, Defendant Transamerica Life is vicariously liable for
Defendant Silvestri’s negligence, mistakes and other wrongful acts as alleged herein.

45. Defendants breached their fiduciary and common law duties to Plaintiff by failing
to effectuate Plaintiff’s expectation of coverage as alleged herein.

46. As a proximate result of Defendant Silvestri’s negligence andfor mistakes_. Plaintiff
has been damaged in an amount of at least the policy limits of $200,000.00 Plaintiff would be
entitled to but for Defendant Silvestri’s negligence as alleged herein.

WHEREFORE, Plaintiff prays this Court grant his judgment in an amount to be proven at
trial_; pre-judgment interest on any amount awarded to Plaintiff_. for all relief requested herein in all
Counts, for attorney’s fees and costs of suit incurred herein, and for such other and further relief as
the Court deems just and proper.

COUNT V- PUNITIVE DAMAGES
(Against All Defendants)

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47. Plaintiff incorporates herein by this reference the allegations contained in all
preceding paragraphs as though fully set forth in full herein.

48. Defendants Transamerica Life and Silvestri’s actions were meant to not only delay
but ultimately to refuse to pay a fair settlement under the insurance contract of the amount actually
due. Defendant Silvestri was grossly negligent as was her breach of fiduciary duty as alleged herein.

49. Defendants’ conduct and actions alleged throughout this Complaint were so willful,
wanton_. reckless, grossly negligent_. or without due regard for the rights of Plaintiff that Plaintiff is
entitled to recover punitive damages.

WHEREFORE, Plaintiff prays for judgment against Defendants for his damages set forth
above, including punitive damages, plus such other and further relief as this Court deems just and

proper.

Respectfully submitted,

TRENCHARD & HOSKINS
Attorneys at Law

P.O. Box 1995

Roswell, New Mexico 88202-1995
505-622-7?'74

505-622-4705 Fax

&

R. Trey Arvizu

Attorney at Law

P.O. Box 1499

Las Cruces, NM 88004-14?9
575-528-8600

575-527-1199 Fax

By: /S/ Rovce E. Hoskins
Royce E. Hoskins

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STEPHEN T. PACHECO
Maureen Naranjo

4-206. Summons.

[For use with District Court Civil Rule 1-004 NMRA]

 

 

SUMMONS
District Court: FIRST JUDICIAL Case Number: D-lUl-CV-2016-027l3
Santa Fe County, New Mexico
Court Address: Judge: Sarah Singleton
P.O. Box 2268

Santa Fe, NM 87504-2268
Court Telephone No.: 505-455-8250

 

Plaintiff(s`): Brent Shelley Defendant Name:

v.
Stacy Silvestri

Defendant(s`): Transamerica Life lnsurance cfo Superintendent of lnsurance
Company, a foreign corporation and Stacy P,O_Drawer1269

Silvestri Santa Fe_. NM 89504

 

 

 

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that
1, A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued
this Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the
Court no later than thirty (`30`) days from the date you are served with this Summons. (`The date you
are considered served with the Summons is determined by Rule 1-004 NMRA) The Court’s address
is listed above.

3. You must file (`in person or by mail) your written response with the Court. When you file
your response_. you must give or mail a copy to the person who signed the lawsuit.

4. lf you do not respond in writing, the Court may enter judgment against you as requested in
the lawsuit.

5. You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must
request one in writing and pay a jury fee.

6. lf you need an interpreter, you must ask for one in writing.

7. You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help

finding a lawyer at www.nmbar.crg; l-800-876-6657; or 1-505-797-6066.
Dated at SEll°l'fEl Fe . New Mexico_. this 13th day of Decem ber . 2016_.

Case 2:17-cV-00098-.]CH-GBW Document 1-2 Filed 01/18/17 Page 11 of 16

Stephen T. Pacheco
CLERK OF COURT

/s/ Rovce E. Hoskins
Signature of Attorney for Plaintiff
Name: Royce E. Hoskins
Address: P.O. Box 1995_.
Roswell, NM 88202-1995
Telephone No.: 5?'5-622-???'4
Fax No.: 575-622-4705
Email Address: royce.hoskins@gmail.com

    

THIS SUMMONS
RULES OF CiviL PROCEDURE FOR DISTRICT COURTS.

RETURNl
STATE OF NEW MEXICO )
)ss
COUNTY OF )

I_. being duly swom, on oath, state that I am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in county on the day of
. by delivering a copy of this summons, with a copy of complaint attached_.

 

in the following manner:
(`check one box and fill in appropriate blanks)

[] to the defendant (used when defendant accepts a copy of suntnu)ns
and compiat'nt or t‘efttses to accept the summons and comptaint)

[] to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (ttsea‘ when
service is by mail or commercial courier sem'ce).

After attempting to serve the summons and complaint on the defendant by personal service or by
mail or commercial courier service_. by delivering a copy of this summons, with a copy of complaint
attached, in the following manner:

 

[ ] to . a person over fifteen (15`) years of age and residing at the
usual place of abode of defendant _. (ttsed when the defendant is not presently
at place ofaboa'e`) and by mailing by first class mail to the defendant at (`t'nsert

defendant's last known tnai.~'ing address) a copy of the summons and complaint.

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[] to . the person apparently in charge at the actual place of business
or employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last known
mailing address).

 

 

 

 

[] to . an agent authorized to receive service of process for
defendant

[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem]
of defendant (used when defendant is a minor or an incompetent person).
[ ] to (name ofperson)_. . (title

 

 

of person authorized to receive service l.lse this alternative when the defendant is a corporation
or an association subject to a suit under a common name, a land grant board of trustees, the State
of New Mexico or any political subdivision`).

Fees:

 

 

Signature of person making service

 

Title (ifany)

l~J

Subscribed and swom to before me this day of ,

 

 

Judge, notary or other officer
authorized to administer oaths

 

Official title
USE NOTE
l. Unless otherwise ordered by the court, this retum is not to be filed with the court prior
to service of the summons and complaint on the defendant.
2. lf service is made by the sheriff or a deputy sheriff of a New Mexico county_. the

signature of the sheriff or deputy sheriff need not be notarized.

[Adopted effective August l, 1988; as amended by Supreme Court Order 05-8300-01, effective
March l, 2005; by Supreme Court Order 0?-8300-16, effective August l_. 200?; by Supreme Court
Order No. 12-8300-026, effective for all cases filed or pending on or after January 7, 2013.]

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Case 2:17-cV-00098-.]CH-GBW Document 1-2 Filed 01/18/17 Page 13 §iSlT@'CT COURT CLERK
12t13r2016 8:05:55 AM

STEPHEN T. PACHECO
Maureen Naranjo

4-206. Summons.

[For use with District Court Civil Rule 1-004 NMRA]

 

 

SUMMONS
District Court: FIRST JUDICIAL Case Number: D-lUl-CV-2016-027l3
Santa Fe County, New Mexico
Court Address: Judge: Sarah Singleton
P.O. Box 2268

Santa Fe, NM 87504-2268
Court Telephone No.: 505-455-8250

 

Plaintiff(s`): Brent Shelley Defendant Name:

v.
Transamerica Life lnsurance Company
Defendant(s`): Transamerica Life lnsurance cio Superintendent of lnsurance
Company, a foreign corporation and Stacy P_O_ Drawer 1269

Silvestri Santa Fe_. NM 82504

 

 

 

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that
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this Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the
Court no later than thirty (`30`) days from the date you are served with this Summons. (`The date you
are considered served with the Summons is determined by Rule 1-004 NMRA) The Court’s address
is listed above.

3. You must file (`in person or by mail) your written response with the Court. When you file
your response_. you must give or mail a copy to the person who signed the lawsuit.

4. lf you do not respond in writing, the Court may enter judgment against you as requested in
the lawsuit.

5. You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must
request one in writing and pay a jury fee.

6. lf you need an interpreter, you must ask for one in writing.

7. You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help

finding a lawyer at www.nmbar.crg; l-800-876-6657; or 1-505-797-6066.
Dated at SEll°l'fEl Fe . New Mexico_. this@b_ day of DeC€‘ITl b€l' _. 20]_6_.

Case 2:17-cV-00098-.]CH-GBW Document 1-2 Filed 01/18/17 Page 14 of 16

Stephen T. Pacheco
CLERK OF COURT

  

/s/ Rovce E. Hoskins
Signature of Attorney for Plaintiff
Name: Royce E. Hoskins
Address: P.O. Box 1995_.
Roswell, NM 88202-1995
Telephone No.: 525-622-???'4
Fax No.: 575-622-4705
Email Address: royce.hoskins@gmail.com

RULES OF CIV[L PROCEDURE FOR DISTRICT COURTS.

RETURNl
STATE OF NEW MEXICO )
)ss
COUNTY OF )

I_. being duly swom, on oath, state that I am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in county on the day of
. by delivering a copy of this summons, with a copy of complaint attached_.

 

in the following manner:
(`check one box and fill in appropriate blanks)

[] to the defendant (used when defendant accepts a copy of sumnu)ns
and complaint or refuses to accept the summons and complaint)

[] to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used when
service is l)y rnail. or commercial courier service).

After attempting to serve the summons and complaint on the defendant by personal service or by
mail or commercial courier service_. by delivering a copy of this summons, with a copy of complaint
attached, in the following manner:

 

[ ] to . a person over fifteen (15`) years of age and residing at the
usual place of abode of defendant _. (used when the defendant is not presently
at place ofahode`) and by mailing by first class mail to the defendant at (`insert

defendant's last known mailing address) a copy of the summons and complaint.

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[] to . the person apparently in charge at the actual place of business
or employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last l<nown
mailing address).

 

 

 

 

[] to . an agent authorized to receive service of process for
defendant

[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem]
of defendant (used when defendant is a minor or an incompetent person).
[ ] to (name ofperson)_. . (title

 

 

of person authorized to receive service. Use this alternative when the defendant is a corporation
or an association subject to a suit under a common name, a land grant board of trustees, the State
of New Mexico or any political subdivision`).

Fees:

 

 

Signature of person making service

 

Title (ifany)

l~J

Subscribed and swom to before me this day of ,

 

 

Judge, notary or other officer
authorized to administer oaths

 

Official title
USE NOTE
l. Unless otherwise ordered by the court, this retum is not to be filed with the court prior
to service of the summons and complaint on the defendant.
2. lf service is made by the sheriff or a deputy sheriff of a New Mexico county_. the

signature of the sheriff or deputy sheriff need not be notarized.

[Adopted effective August l, 1988; as amended by Supreme Court Order 05-8300-01, effective
March l, 2005; by Supreme Court Order 02-8300-16, effective August l_. 200?'; by Supreme Court
Order No. 12-8300-026, effective for all cases filed or pending on or after January 7, 2013.]

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Case 2:17-cV-00098-.]CH-GBW Document 1-2 Filed 01/18/17 Page 16 §lSlT@'CT COURT CLERK
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STEPHEN T. PACHECO
Jonge Montes

STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST .]UDICIAL DISTRICT COURT

BRENT SHELLEY,
Plaintiff,
vs, NO, CVD-i oi-cv-2016-02713

Case assigned to Sing|eton, Sarah
TRANSAMERICA LIFE INSURANCE COMPANY,

a foreign corporation and Stacy Silvestri,
Defendants.
DEMAND AND REOUEST FOR JURY TRIAL

Please take notice that Plaintiff Brent Shelley demands trial by a jury of six in this action.

Respectfully submitted,

TRENCHARD & HOSK]NS
Attomeys at Law

P. O. Box 1995

Roswell, N.M. 88202-1995
575-622-7774

575-622-4?'05 Fax

By: /S/Rovce E. Hoskins
Royce E. Hoskins
ATTORNEYS FOR PLAINTIFF

